Case No. 1:11-cv-02106-PAB-CBS Document 78-5 filed 10/24/13 USDC Colorado pg 1 of
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    Account             872, Cuardian Tlに le Boulder
    (Reported in onited States Dollar ‑ OS,)
    3a■ anCe     Report sumary

                                     CREDITS
      工ncoming     Money Transfer                                                910′ 298.08
        REF■     : 090702000340
        RE F2 : 005185
        1nunediate Fund●
        Sending Bank: 021000089          CITIBANK N A.           ― Sending Bank Reference:



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        PATTON′ MORIINO 十 ASVAT(BVI)LTD′  PALM CHAMBERS′ ■97 MA工 N STREET′
        ROAD TO'N′ TORTOLA VIRCIN ISLA ‐ Originator'9 Bank: BIC― LILACtlZZ ‐
        Instructing 3ank: BIC― LILAL12XXXX′ LrECHTENSTロ エNISCHE LANDESBANK′
        AК TIEINGESELLSCHAFT ABT BVB′ POSTFACH 304 F■ 9490 VA00Z′ LIECHTENSTEIIN                            ‐
        Originator to Deneficiary IInfo: REFERENCE                   927 COLE STREET′        ′
        GOLDEN′ C0 80401        MARIE DALTON LESS,          CHARCES        ‐ Anount: s910′     298.00   ‐
        Acceptance Tinestanp: oフ /02/2009 00:50 ‑ OMAD FieldS:
         20090'0201oC990C00011507020050FT01 ‑ IMAD; 2009070231o8021C005185 ‑ Charges:
        B  ― Instrucし ed ハェount: usD910356,44
      Inc● Ining oney TransFer                                 917.501 84
         REFl : 090702007646
         RE,2 : 002960
         1コ ediate Funds
            :■

         Sending Bank: 02600'993 0BS AC NYC ‐ Sending Bank ReFerence:
         9930103К T0079060 ‑ Receiving Bank: 121137522 COMttRICA BANK ‑ 3eneFiciary:
         CHIPS ID‑200111, SAME Dハ Y RETURN OF FONDS ― ReFerence ror DeneFiciary:
         10301758 ‑ Originator: ACCT― ★☆●●■'8727, GUARDIAN TIITLE ACrNCY LLC′
         1355 S COLORADO BLVD C‐ 306′ DENVER,C0 80222 ‑ ReCeiVing Bank IInfo:
         RETURN OF Y00R IMAD 001576 0D′ 090702 1.F.SS CHARCES S25,00 REASON′
          OTA THE BNF ― Anount: ,917,581 04 ‑ Acceptance Tinestanp: o7/02/2009 15:12
          ‑ OMAD Flelds: 20090'02LlLF994C00175'0'021512FT01 ‑ IMAD:
         20090,02B6Bフ IKlC002960 ‐ Charges: suSD25,




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